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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-20895-CR-UNGARO/SIMONTON

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.

   JORGE LUIS PACHECO, et al.,

         Defendants.
                                      /


                      ORDER DENYING MOTIONS IN LIMINE TO EXCLUDE
                          GOVERNMENT’S PHYSICIAN WITNESS

         Presently pending before this Court is Defendant Keith Russell’s Motion to

   Exclude Opinion Evidence (DE # 196) and Defendant Jorge Luis Pacheco’s Motion to

   Exclude the Government’s Physician Witness, Dr. Michael Wohlfeiler, M.D. (DE # 198),

   and a Supplemental Motion in Limine to Exclude the Government’s Physician Witness

   Under Daubert, filed by Defendant Pacheco (DE # 261). These motions were joined by

   Co-Defendant Eda Milanes (DE # 237, 238). The Honorable Ursula Ungaro, United States

   District Judge, has referred this matter to the undersigned United States Magistrate

   Judge (DE # 220). The Government has filed an expedited consolidated response in

   opposition to the Motions (DE # 245). Oral argument on the Motions was held on

   January 30, 2009, followed by an evidentiary hearing on February 6, 2009.

         For the reasons set forth below, it is hereby ORDERED that the Motions are

   DENIED. As explained in more detail below, and subject to the limitations set forth in

   this Order, Dr. Michael Wohlfeiler should be permitted to testify as an expert witness

   regarding the treatment of HIV/AIDS patients generally, including the standards of care
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   in the medical community; and, the usage of and medical necessity for certain

   medications and treatments allegedly prescribed, administered and submitted to

   Medicare for reimbursement by the Defendants. This Order is without prejudice,

   however, to renew the objection to this testimony at trial since it is predicated upon the

   Government’s proffer of expected testimony by other witnesses, and is only a pre-trial

   determination that the opinion will be useful to the jury and that the probative value is

   not substantially outweighed by the danger of unfair prejudice, confusion of the issues

   and considerations of undue delay. The trial court will be in the best position to re-

   evaluate this determination during the course of the trial. See United States v. Khoury,

   901 F.2d 948, 966 (11th Cir. 1990); United States v. Rutkowski, 814 F.2d 594, 598 (11th

   Cir. 1987)(“Although defense counsel objected before trial to the admission of the

   evidence, the record reveals no objection during the trial. ‘The overruling of a motion in

   limine is not reversible error, only a proper objection at trial can preserve error for

   appellate review.’”(citations omitted).

          I.     BACKGROUND

          Defendants Keith Russell, Eda Milanes and Jorge L. Pacheco are charged with

   three counts in a sixteen count indictment with participating in a health care fraud

   conspiracy and two related substantive counts regarding claims submitted to Medicare

   seeking reimbursements for the costs of certain injection and infusion treatments

   purportedly furnished to HIV/AIDS patients. The Indictment alleges in Count 1 that

   Russell, Milanes and Pacheco conspired with their Co-Defendants and others to defraud

   a health care benefit program affecting commerce by: a) submitting false and fraudulent

   claims to Medicare; b) offering and paying kickbacks and bribes to Medicare

   beneficiaries; c) concealing the submission of false and fraudulent claims to Medicare;

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   and d) diverting proceeds of the fraud for the personal use and benefit of the Defendants

   and their co-conspirators; all in violation of 18 U.S.C. § 1349. In Counts 4 and 7,

   Defendants Russell, Milanes and Pacheco are charged with violations of 18 U.S.C. §§

   1347 and 2 for committing acts in execution of a scheme to defraud a health care benefit

   program by submitting allegedly false and fraudulent Medicare claims for medically

   unnecessary and non-rendered injection and infusion treatments on behalf of Medicare

   beneficiaries. The act in execution of the scheme alleged in Count 4 is the injection of

   filgrastim as to patient G.B. on March 24, 2006; the act in execution of the scheme

   alleged in Count 7 is the injection of filgrastim as to patient R.C. on August 1, 2006.

          Although the Indictment references Medcore and M&P, two different clinics where

   the alleged fraudulent practices took place, Defendants Russell, Milanes and Pacheco

   are only alleged to have been affiliated with the M&P clinic. Specifically, the Indictment

   alleges that Eda Milanes and Jorge Pacheco were employed as medical assistants at

   M&P who provided injection and infusion treatments to M&P patients that were not

   medically necessary. Defendant Keith Russell is alleged to have been a licensed

   physician employed at M&P who conducted cursory examinations of Medicare

   beneficiaries and signed the required documentation to make it appear that the injection

   and infusion treatments billed by M&P were medically necessary and provided. The

   Indictment also specifically identifies two Medicare Beneficiaries, the dates of treatment,

   and the treatments for which Medicare was billed by M&P.

   II.    A SUMMARY OF THE MOTION TO EXCLUDE EXPERT TESTIMONY

          In the instant Motions, Defendants Russell, Pacheco and Milanes (“Movants”)

   seek to exclude the testimony of the Government’s Physician Witness, Dr. Michael



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   Wohlfeiler, M.D.1 On December 31, 2008, in its Fourth Response to the Standing

   Discovery Order, the Government identified Dr. Wohlfeiler as an expert in immunology

   and the treatment of patients with HIV/AIDS who would testify, among other things,

   about the medical necessity of certain treatments for HIV/AIDS patients (DE #168). The

   opinions at issue, which were more fully discussed at the evidentiary hearing, are set

   forth succinctly as follows in the government’s discovery response and in Exhibit 2 at

   the hearing:

         In addition to background testimony regarding the treatment of HIV/AIDS
         and the role that certain medications play in that treatment, the substance
         of [Dr. Wohlfeiler’s] opinions will be as follows:

         (1)     In the last 10-15 years, since the advent of highly active
         anti-retroviral therapy ("HAART") which involves treating HIV/AIDS with a
         combination of oral medications, sometimes referred to as a "cocktail," it
         is not medically necessary or appropriate to treat HIV/AIDS patients with
         parenteral therapies such as infusions or injections.

         (2)    Thrombocytopenia is a disorder in which a patient's blood contains
         an abnormally low platelet count. Thrombocytopenia can only be
         diagnosed through a blood test, and cannot be detected through other
         symptoms alone, such as bleeding. Idiopathic Thrombocytopenic Purpura
         ("ITP") is a common cause of thrombocytopenia in HIV-positive patients.

         (3)    It is not medically necessary or appropriate to treat
         thrombocytopenia in HIV/AIDS patients. In general, the proper treatment of
         thrombocytopenia in HIV/AIDS patients is the treatment of HIV/AIDS itself,
         as the underlying disease that is causing the thrombocytopenia. Treatment
         of thrombocytopenia itself is only medically necessary in uncommon cases
         where a patient's platelet count falls below clinically significant levels or
         when the patient is actively bleeding.

         (4)    Even if treatment for thrombocytopenia itself were appropriate in
         the uncommon HIV/AIDS case, it would only be appropriate in connection
         with frequent and regular monitoring of a patient's platelet count through
         properly conducted laboratory tests. The same is true for the treatment of
         other blood disorders such as low white cell count and low red cell count.


         1
           Defendant David Rothman did not join in these motion, although his counsel
   was present at the hearing held in connection with these motions.

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          Outside of these parameters, medications such as gamma globulin,
          immune globulin, epoetin alfa, filgrastim, and sargramostim would not be
          medically necessary or appropriate. Infusions and injections of these
          medications are not routinely used in the treatment of HIV/AIDS patients.

          (5)    It is not medically necessary or appropriate to treat patients with
          HIV/AIDS by infusing or injecting them with medications such as
          rituximab, corticotropin, interferon, and amifostine.

          (6)    It is not medically necessary or appropriate in the routine treatment
          patients with HIV/AIDS, or its complications, to infuse or inject them with
          medications such as methylprednisolone acetate, infliximab, and other
          corticosteroids. These medications are typically contra-indicated in the
          treatment of HIV/AIDS in that HIV/AIDS patients are immunocompromised
          and these medications can further suppress the immune
          system.

          (7)    It is not medically necessary or appropriate to treat patients with
          HIV/AIDS by infusing or injecting them with medications such as
          voriconazole. Oral medications are typically the appropriate treatment of
          fungal and other infections often experienced by HIV/AIDS patients.

   The government has made it clear that Dr. Wohlfeiler will not be asked to render an

   opinion regarding the medical necessity of treatment with respect to any of the specific

   patients treated at the clinics involved in this case. The clinics were sold after the

   events alleged in the Indictment, and the patient files cannot be located.

          In his Motion to Exclude Opinion Evidence, Defendant Russell asserted, inter alia,

   that Dr. Wohlfeiler should not be allowed to testify because: 1) the testimony is irrelevant

   since “medical necessity” is defined by the Local Medical Review Policies promulgated

   by Medicare’s authorized insurance carriers; 2) the testimony is unfairly prejudicial; 3)

   the testimony would include the witness’s personal judgment and legal background

   which would intrude on both the mental state issues and legal questions for the jury and

   serve to add confusion to the testimony; and 4) the testimony violates due process (DE

   #196). In addition, the Defendant cited to Federal Rules of Evidence 702 and 704, and

   argued that, pursuant to those rules, the expert’s testimony should be excluded.

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   Defendant Russell also noted that Dr. Wohlfeiler had not reviewed the files of the

   patients for whom the Defendants allegedly submitted false claims and reimbursements

   to Medicare.

          In his Motion in Limine to Exclude the Government’s witness, Defendant Jorge

   Luis Pacheco raised almost identical arguments as those raised by Defendant Russell

   (D.E. # 198). In addition, Defendant Pacheco placed significant emphasis on the Local

   Medical Review Policies (LMRPs), which Defendant argues set forth the definition of

   “medical necessity” and also reflect the applicable standard of care for the prescription

   of medications billed by the Defendants. Thus, Defendant Pacheco argues that since

   this is a criminal case, it does not involve a determination of whether the quality of care

   was appropriate or whether it amounted to malpractice, and therefore Dr. Wohlfeiler’s

   testimony is irrelevant.

          In response to both Motions, the Government argues in its Opposition that the

   testimony of Dr. Wohlfeiler should be admitted as his opinions satisfy the requirements

   of Federal Rule of Evidence 702. In addition, the Government argues that Dr.

   Wohlfeiler’s testimony is relevant and it is not necessary for him to review the individual

   patient records in this case, as his opinion relates to the general medical necessity of

   the type of treatment allegedly provided by the Defendants rather than whether any of

   the billed treatments were necessary in any one case. Rather, the Government asserts

   that Dr. Wohlfeiler’s testimony will be presented along with other evidence to

   demonstrate that the treatments billed by the Defendants were fraudulent, and thus his

   testimony will be relevant to the entirety of the case. The Government maintains that

   Dr. Wohlfeiler’s testimony will educate the jury about medically necessary treatments for

   HIV/AIDs patients to help the jury better determine whether the treatments billed by the

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   Defendants were medically necessary. Further, the Government argues that the LMRPs

   are not definitive statements of medical necessity and are not treatment guidelines but

   rather are billing guidelines related to reimbursements. Accordingly, the Defendants’

   due process rights will not be violated if Dr. Wohlfeiler testifies about the medical

   necessity of certain treatments since the LMRPs do not permit providers to submit

   fraudulent bills for medically unnecessary treatments.

          During the oral argument on these motions on January 30, 2009, the Defendants

   requested an evidentiary hearing to further explore the nature and basis of Dr.

   Wohlfeiler’s opinions. Based upon the brevity of the Government’s expert witness

   disclosure, and the lack of an expert report, the undersigned granted the request. On

   February 6, 2009, the undersigned held an evidentiary hearing on the Motions. At the

   hearing, Dr. Wohlfeiler testified regarding his opinions on the use and medical necessity

   of certain drugs/pharmaceuticals in the treatment of HIV/AIDS patients. He also testified

   about the basis for his opinions and was cross-examined by counsel for the Defendants.

   The government introduced into evidence a chart summarizing the claims for

   reimbursement made by M&P, and explained that Dr. Wohlfieler had been asked to opine

   on the medical necessity for the top ten items billed (Govt. Ex. 1). The government also

   introduced the letter confirming Dr. Wohlfeiler’s opinion, as set forth in its expert

   witness disclosure (Govt. Ex. 2); and, the Curriculum Vitae of Dr. Wohlfeiler (Govt. Ex. 3).

   The defense relied upon Local Medical Review Policies (LMRP’s) that were filed with the

   Court prior to the hearing (D.E. # 249).

          After the hearing, Defendant Pacheco submitted a Supplemental Motion in Limine,

   wherein he raised additional questions about the methodology and data utilized by Dr.

   Wohlfeiler and provided additional legal authority to support of his position that Dr.

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   Wohlfeiler should not be allowed to testify at trial.

   III.   FINDINGS OF FACT

          Based upon the testimony and exhibits presented at the evidentiary hearing, the

   undersigned Magistrate Judge makes the following Findings of Fact.2

          1. As reflected in his Curriculum Vitae (Govt. Ex. 3), Dr. Michael Bruce Wohlfeiler

   has the following educational background: 1972 Bachelor of Arts degree in Political

   Science from the University of Arizona; 1980 Juris Doctor from the University of Arizona

   College of Law; 1987 Doctor of Medicine from Rush Medical College. Dr. Wohlfeiler

   completed his Internship/Residency in Internal Medicine at the University of

   Miami/Jackson Memorial Hospital, between July 1987 and July 1990. Dr. Wohlfeiler

   holds several professional certifications, including certification as a Credentialed HIV

   specialist by the American Academy of HIV Medicine. He is a Diplomate of the American

   Board of Hospice and Palliative Medicine.

          2. Dr. Wohlfeiler has published several chapters and articles on HIV/AIDS related

   topics and has participated as both the principal investigator and sub investigator on

   numerous HIV/AIDS related protocols involving the testing of various pharmaceuticals

   and therapies on patients. Dr. Wohlfeiler has not published any articles dealing with

   anemia, rheumatoid arthritis, or fungal infections.

          3. Since the year 2000, Dr. Wohlfeiler has served as the Medical Director of

   Special Immunology Services at Mercy Hospital in Miami, Florida, and between 2003 and

   2004 he served as the Chair of the Florida Academy of HIV Medicine. Dr. Wohlfeiler has



          2
              In this section, the undersigned is not rendering an opinion as to the truth of Dr.
   Wohlfeiler’s opinions, but is finding only that these are the opinions as to which he
   testified.

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   also had significant professional experience in the HIV treatment field through the

   Laureate Forum in HIV from 1998 to the present, as an Immunology Distinguished

   Faculty member for Bristol-Myers, Squibb from 1993 to the present, and as the Medical

   Director/Team Physician for VITAS Innovative Hospice Care from 1990-98. He is a

   member of several professional organizations related to the treatment of HIV/AIDS

   patients, including serving as Vice-President of the Florida Academy of HIV Physicians

   from 2000 to the present. He has also served as a clinical investigator and on the

   advisory speakers bureau for several prominent pharmaceutical companies.

          4. Dr. Wohlfeiler currently maintains a private practice that specializes in the

   treatment of HIV disease, and has been in private practice with an emphasis on HIV

   disease since 1990. In his treatment of patients, he frequently acts as their primary care

   physician and treats all complications that may accompany the HIV/AIDS disease. His

   practice has approximately twenty-five hundred (2500) active patients with HIV infection,

   and is the largest private practice for the treatment of HIV/AIDS patients in South Florida.

   Dr. Wohlfeiler treats approximately half of those patients himself, and his partner treats

   the other half. Approximately 25% of the HIV patients treated by Dr. Wohlfeiler’s practice

   receive health coverage through Medicare. However, in treating his patients, Dr.

   Wohlfeiler does not follow the local medical review policies (LMRP) promulgated by the

   Medicare program because he views those policies as billing guidelines.

          5. Prior to the hearing, the Government presented Dr. Wohlfeiler with a list of the

   top ten drugs that were allegedly billed by M&P to Medicare related to the treatment of

   HIV/AID patients (Govt. Ex. 1). Dr. Wohlfeiler reviewed the list and provided an opinion

   on the medical necessity of the identified drugs in the treatment of HIV/AIDS patients.

   This opinion was summarized in a confirming letter dated December 31, 2008 written to

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   Dr. Wohlfeiler by the prosecutor in this case3 (Govt. Ex 2). Dr. Wohlfeiler reviewed the

   letter prior to the hearing, and agreed that the letter reflected his opinions generally

   about the medical necessity of the use of specific drugs in the treatment of HIV/AIDS

   related conditions. Dr. Wohlfeiler did not review any of the individual patient charts in

   this matter.4

          6. Dr. Wohlfeiler testified that prior to late 1995 and early 1996, no medications

   sufficiently suppressed HIV completely and over the long-term. However

   with the advent of proteinase inhibitors after that time, HIV began to be treated with

   highly active anti-retroviral therapy which allowed for a combination of medicines to be

   used to suppress HIV in the majority of patients. That combination of drugs is known as

   a “cocktail”. The use of the cocktail treatment allows HIV to be a chronically managed

   disease rather than a rapidly terminal illness. The cocktail works by suppressing the HIV

   virus and allowing a partial recovery of the immune system, which causes many of the

   complications associated with HIV to disappear.

          7. Dr. Wohlfeiler testified that for the most part today, treatment of the

   underlying HIV takes priority over treating the symptoms associated with the virus. He



          3
            In Exhibit 1, the Government presented a chart of Medicare Data reflecting
   billing codes that were used by the M&P Clinic in billing Medicare. The Government
   requested that Dr. Wohlfeiler render an opinion regarding the medical necessity of the
   top ten or twelve drugs and/or treatments that made up the bulk of the billing to
   Medicare. The chart and Dr. Wohlfeiler’s opinion also included the top billing drugs
   and/or treatments from the Medcore Clinic, where Defendants Russell, Milanes and
   Pacheco did not work. The drugs listed on the chart, about which Dr. Wohlfeiler opined,
   are lymphocyte immune globulin, antithymocyte globulin, equine, filgrastim,
   methylprednisolone acetate, voriconazole, infliximab, gamma globulin, amifostine,
   epoetin alfa, cytomegalovirus immune globulin and rituximab.
          4
            It is undisputed that no patient charts are available. The clinics at issue were
   sold, and the whereabouts of those charts, if they still exist, is unknown.

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   testified that parenteral therapies, including infusions and injections, become

   unnecessary when the underlying HIV/AIDS disease is treated with a cocktail.

          8. One of the diagnoses made with respect to the patients in the case at bar to

   support the allegedly unnecessary treatments is thrombocytopenia. Dr. Wohlfeiler

   explained that thrombocytopenia refers to an abnormally low number of platelets. He

   confirmed that through his practice he is familiar with the diagnostic tests used to

   diagnose thrombocytopenia and the appropriate treatment for the condition. He testified

   that idiopathic thrombocytopenic purpura (ITP) is a type of thrombocytopenia most

   commonly found in HIV/AIDS patients; it is of unknown origin, and occurs when a

   person’s own immune system attacks and destroys that person’s own platelets. If there

   are not enough platelets, a person may experience spontaneous bleeding; or may bleed

   too much when injured. He testified that ITP is not a problem in the vast majority of

   HIV/AIDS patients, since people have many more platelets, ranging from 140,000 to

   450,000, than they need to stop bleeding.    Dr. Wohlfeiler testified that ITP spontaneous

   bleeding usually does not occur until the platelet count drops below 10,000. He testified

   that until a person’s platelet count reaches the 10,000 level, the proper course is to treat

   the underlying HIV condition as opposed to the complications of thrombocytopenia. He

   further testified that there are different types of thrombocytopenia, not caused by HIV

   (where the platelets are being manufactured and but are being destroyed at an excessive

   rate), but rather may be caused by failure of the bone marrow to produce platelets.

          9. Dr. Wohlfeiler confirmed that it is not medically necessary or appropriate to

   treat thrombocytopenia itself in HIV/AIDS patients, rather, the proper treatment is to treat

   HIV/AIDS as the underlying disease that is causing the thrombocytopenia. He further

   testified that specific treatment for thrombocytopenia in HIV/AID patients is only

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   medically necessary in uncommon cases where a patient’s platelet count falls below

   clinically significant levels or when the patient it actively bleeding. He acknowledged

   however, that some people might treat ITP above the 10,000 platelet count and that

   bleeding due to trauma could occur at a 50,000 platelet count level.

          10. Dr. Wohlfeiler explained that in cases where it is necessary to treat

   thrombocytopenia directly, appropriate follow up lab work must be conducted in order to

   determine if the treatment is working by improving the platelet count. He testified that

   typically, if the treatment works, the response will be very rapid and follow up within a

   week of administering the treatment is appropriate. At the same time treatment is being

   administered directly for thrombocytopenia, the underlying HIV should also be treated,

   and the HIV treatment alone should bring the platelet count up, thereby ending the need

   for the direct independent treatment of thrombocytopenia. The patient’s condition

   should then be monitored and the direct treatment of thrombocytopenia could be

   reinstituted, if necessary.

          11. Dr. Wohlfeiler testified that when treating the thrombocytopenia directly it is

   critical to have accurate blood and lab work and to monitor the patient’s platelet count to

   ensure that the condition is appropriately treated and managed. He testified that the

   patients’ complete blood count (CBC), including white and red count, should also be

   monitored.

          12. In his opinion, Dr. Wohlfeiler confirmed that outside of these parameters

   infusions and injections of medications such as gamma globulin, immune globulin,

   epoetin alfa, filgrastim and sargramostim would not be medically necessary or

   appropriate; and, these drugs are not routinely used in the treatment of HIV/AIDS

   patients. Dr. Wohlfeiler testified that gamma globulins are a type of drug that provide a

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   concentrated dose of general antibodies. Dr. Wohlfeiler explained that the immune

   system can be divided into two broad categories, the humoral or antibody mediated

   immune system and the cell mediated immune system. Gamma globulins are used to

   treat the humoral or antibody mediated portion of the immune system which is generally

   produced and regulated by B cells or B lymphocytes.       He testified that the other portion

   of the immune system, the cell mediated immune system, is controlled by T cells or T

   lymphocytes. Dr. Wohlfeiler confirmed that HIV/AIDS attacks the T lymphocyte portion of

   the immune system and not the humoral or antibody mediated part of the immune

   system, thus gamma globulins are not used to treat the condition of HIV/AIDS. Dr.

   Wohlfeiler stated that gamma globulin can be used to treat ITP, but would only be the

   appropriate treatment in rare cases.

          13. Dr. Wohlfeiler testified that immune globulin is the same thing as gamma

   globulin. He identified antithymocyte globulin as a very specific type of immune globulin

   that works as an immune suppressant of the cell mediated immune system and is

   prescribed to stop the rejection of organ transplants.    He testified that he only knows of

   antithymocyte being used in cases of organ transplantation. Dr. Wohlfeiler testified that

   if you treat and HIV patient with a drug that further suppresses their immune system, you

   can worsen the condition of the patient.

          14. Dr. Wohlfeiler testified that epoetin alfa is a naturally occurring hormone that

   stimulates bone marrow red blood cell growth, and is used to treat certain types of

   anemia, and is primarily used in end stage renal disease. Epoetin alfa is often not

   needed if the underlying HIV is treated.

          15. Dr. Wohlfeiler testified that filgrastim stimulates the production of certain

   white blood cells, called neutrophils, which are used in treating bacterial infections. It is

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   primarily used when treating chemotherapy patients, although there might be occasions

   when you would use it in the short term for HIV patients, typically when another drug is

   causing the white blood count to diminish.

          16. Dr. Wohlfeiler testified that another drug, sargramostim also stimulates the

   production of certain white blood cells, specifically neutrophils and monocytes. Dr.

   Wohlfeiler testified that he has never seen this drug administered in an HIV setting.5 He

   testified that it is primarily used in bone marrow transplants to try to stimulate the

   production of blood cells.

          17. Dr. Wohlfeiler testified that cytomegalovirus (CMV) is a viral infection which

   most people are exposed to at some point but it does not usually cause a problem in

   most people unless their immune system is low. CMV may occur in patients after organ

   transplants because the patients are placed on immuno suppressant medication and

   thus CMV is able to reactivate. Patients who have CMV, or are likely to get CMV, are

   treated with specific immune globulin.

          18. Dr. Wohlfeiler opined that it is not medically necessary or appropriate to treat

   patients with HIV/AIDS by infusing or injecting them with medications such as rituximab.

   corticotropin, interferon or amifostine. He testified that rituximab is an immune

   suppressive drug, and that he has never seen this drug administered in an HIV setting.

   He testified that a patient with a weakened immune system should not be given a




          5
            As described infra., Dr. Wohlfeiler testified that there were several drugs that he
   had not heard of before the government asked him to render an opinion about the drug.
   He read the package inserts and the PDR about those drugs to arrive at his opinions. Dr.
   Wohlfeiler stated that he uses a drug reference cite “Rx.List.com” to conduct research
   about drugs and also uses the John Hopkins University site. Dr. Wohlfeiler testified that
   he relied on different textbooks in arriving at his opinion including the text of AIDS
   therapy by the American Academy of HIV Medicine.

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   medicine that will further suppress their immune system. He testified that certain drugs,

   including those used to treat rheumatoid arthritis, contain big warnings in a “black box”

   that discuss the risks of immune suppression and infection for patients on those types

   of medication. He confirmed that giving someone an immuno suppressive drug while

   treating HIV/AIDS disease results in the treatments working against one another.

          19. Dr. Wohlfeiler testified that corticotropin is an immuno suppressive drug that

   is used primarily in treating certain types of malignancies. As with other drugs

   discussed above, he has never seen this drug administered in an HIV setting; and he

   verified its usage by relying on published literature.

          20. Dr. Wohlfeiler testified that the drug Interferon is a cytokine which is a

   immune modulator. He testified that the drug might be administered in an HIV setting as

   part of a treatment for a patient who has chronic Hepatitis C and HIV. He testified that

   he has only seen it used for a limited amount of time with patients who have active

   hepatitis C along with HIV, and that patients typically have a poor ability to stay on the

   treatment because of all of the side effects.

          21. Dr. Wohlfeiler testified that the drug amifostine is intended to be given to

   patients with advanced ovarian cancer who are receiving a particular type of

   chemotherapy. It is designed to prevent kidney toxicity. Dr. Wohlfeiler testified that he

   had never used this drug and he had never seen this drug administered in an HIV

   setting. Based upon his review of the literature, he has no idea how it would be used in

   an HIV setting.

          22. Dr. Wohlfeiler explained that corticosteroids are very potent anti-inflammatory

   medicines that are used to treat inflammatory diseases, like rheumatoid arthritis or

   asthma, where an inflammation of the airways occurs. He testified that

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   methylprednisolone acetate is a very common corticosteroid, and stated that the

   particular methylprednisolone at issue in the case at bar is non oral and may be given by

   injection or infusion. Patients who need to be treated with this drug are given the oral

   form of this drug rather than the injection, unless the patient is unable to swallow or not

   conscious.6

          23. Dr. Wohlfeiler testified that the drug infliximab is another rheumatoid arthritis

   medication, much like rituximab, and acts to suppress aspects of the immune system to

   reduce inflammation. He confirmed that, over time, corticosteroids suppress the

   immune system.

         24. Dr. Wohlfeiler testified that the drug voriconazole is an anti-fungal medication.

  He stated that anti-fungal medications can be frequently used in HIV because the part of

  the immune system that is destroyed by the disease controls fungal infections.

  voriconazole is typically used to treat invasive aspergillosis, a very aggressive dangerous

  kind of fungus. It can also be used in the HIV setting instead of the drug fluconazole for

  treating a resistant fungal infection in the mouth and throat.   Voriconazole is usually

  given orally because the same level of drug is reached in the patient whether it is taken

  orally or intravenously. He stated that it probably would be given to a small number of

  HIV patients who might have resistant fungal infections, but would be given orally. He

  stated that fluconazole would be used more than voriconazole in the HIV setting because

  there has been more experience with fluconazole, and there is very little toxicity

  associated with it. Dr. Wohlfeiler testified that neither drug would typically be given as a

  preventive measure. However, voriconazole would be used in rare cases where a patient


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            Allegedly fraudulent billings in the case at bar involved the use of injections
   rather than treatment with the oral form of this drug.

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  had HIV and either had aspergillosis (because fluconazole does not work against

  aspergillosis), or where patients have failed treatment with fluconazole.

         25. Dr. Wohlfeiler admitted that during the treatment of his patients, he has

  successfully used neupogen to treat neutropenia, successfully used voriconazole once or

  twice, and has successfully used steroid with his patients. He testified that it is rare to

  treat HIV patients for rheumatoid arthritis because HIV suppresses the immune system,

  the activation of which is the underlying cause of rheumatoid arthritis.

         26. Dr. Wohlfeiler is unaware of any guideline by any state or federal agency that

  would preclude giving neupogen to treat neutropenia or gamma globulin to address

  thrombocytopenia of other issues in HIV patients. Dr. Wohlfeiler testified that some of

  the package inserts for the medications at issue would indicate that they were

  contraindicated for use in patients whose immune systems are suppressed.

         27. Dr. Wohlfeiler reviewed his electronic patient records from 2005 forward to

  determine if he had administered the drugs in question. He testified that with the

  exception of epoetin, neupogen and some corticosteroids, none of the other drugs were

  found in his patients records. He also testified that since the time that the “cocktail” of

  drugs came into use, he has not used gamma globulin.

         28. Dr. Wohlfeiler testified that immune suppressant therapy is rarely used in a

  patient who has an immune suppressive disease such as HIV, and such treatment would,

  essentially be contraindicated in those patients.

         29. Dr. Wohlfeiler testified that he based his opinions on the use of certain drugs

  for treating patients with HIV/AIDS on his experience as a doctor treating his patients, as

  well as the guidelines issued by the Department of Health and Human Services and the

  International AIDS society, and articles and educational programs that he has attended.

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  He testified that he does not know if any of the patients at issue in this matter had any

  other conditions or symptoms related to HIV/AIDS since he did not review the patient

  files. Dr. Wohlfeiler testified that he could not reach any opinion on whether it was

  medically necessary to prescribe any of the drugs to any specific patient in this case. He

  testified that his opinions regarding whether a particular drug is medically necessary in

  the treatment of HIV/AIDS is based upon the standard of care in the medical community.

         30. Dr. Wohlfeiler admitted that he does not know how Medicare defines

  “medically necessary”, that he does not review the Medicare policies and does not

  consider the Medicare policies as part of the material he uses to determine the standard

  of care. Dr. Wohlfeiler believes that the Medicare Guidelines are for determining billing

  and what services will be paid for, and not necessarily what the appropriate or standard

  of care or treatment is for patients.

         31. Dr. Wohlfeiler’s opinions regarding the drugs that he was not familiar

  with prior to the government asking for his opinion, were not based upon his personal

  experience in treating patients but rather were based on the Physician’s Desk Reference,

  websites and discussions he has had with other people.

         32. Dr. Wohlfeiler testified that he would be comfortable submitting his opinions

  on the medical necessity of the drugs at issue, for publication. He testified that his

  opinions as expressed in the December 31, 2008 letter from Mr. Darden to him, are

  opinions that are generally and commonly accepted in the medical community. Dr.

  Wohlfeiler based those opinions on a variety of sources, including treatment guidelines,

  conferences and textbooks.

         33. Dr. Wohlfeiler is a knowledgeable and credible witness, who has extensive

  medical training both through his education, research and his private medical practice.

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  The undersigned specifically finds and concludes that he is qualified to testify to the

  community standard as to medically necessary and appropriate medical treatment for

  HIV/AIDS patients.

         IV.    LEGAL ANALYSIS

         A.     Federal Rule of Evidence 702

         Rule 702 of the Federal Rules of Evidence governs the admissibility of testimony

  by expert witnesses. The rule provides, in pertinent part:

                If scientific, technical, or other specialized knowledge will assist
                the trier of fact to understand the evidence or to determine a fact
                in issue, a witness qualified as an expert by knowledge, skill,
                experience, training or education, may testify thereto in the form
                of an opinion or otherwise, if (1) the testimony is based upon
                sufficient facts or data, (2) the testimony is the product of
                reliable principles and methods, and (3) the witness has applied
                the principles and methods reliably to the facts of the case.

         As stated by the Eleventh Circuit in United States v. Frazier, 387 F. 3d 1244 (11th

  Cir. 2004), “Rule 702 compels the district courts to perform the critical ‘gatekeeping’

  function concerning the admissibility of expert scientific evidence.” Id. (citing Daubert v.

  Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 589 n.7 (1993)). Trial courts are also

  required to play the same gatekeeping function in considering the admissibility of

  technical expert evidence. Kumho Tire v. Carmichael, 526 U.S. 137, 147 (1996). This

  function “inherently require[s] the trial court to conduct an exacting analysis” of the

  foundations of expert opinions to ensure they meet the standards for admissibility under

  Rule 702. McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253 at 1257 (11th Cir. 2002).

         In performing this function, the Supreme Court held in Daubert that a court must

  consider whether: 1) the expert is qualified to testify competently regarding the matters

  he/she intends to address; (2) the methodology by which the expert reaches his/her



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  conclusions is sufficiently reliable as determined by the sort of inquiry mandated by the

  Supreme Court’s ruling in Daubert; and (3) the testimony assists the trier of fact, through

  the application of scientific, technical, or specialized expertise, to understand the

  evidence or to determine a fact in issue. City of Tuscaloosa v. Harcros Chems., Inc., 158

  F.3d 548, 562 (11th Cir.1998) (citing Daubert, 509 U.S. at 589).

         1)     Expert Qualifications

         As to the first prong of the Daubert analysis, the expert’s qualifications, Rule 702

  provides, “... a witness qualified as an expert by knowledge, skill, experience, training, or

  education, may testify thereto in the form of an opinion or otherwise.” In the case at bar,

  Defendants have not challenged Dr. Wohlfeiler’s qualifications as an expert to testify

  generally on the treatment of HIV/AIDS patients. Moreover, the record demonstrates that

  Dr. Wohlfeiler has had extensive medical education and training in the treatment of

  HIV/AIDS patients. In addition, as set forth above, he has maintained a private practice

  for over eighteen years that focuses almost exclusively on the treatment of HIV/AIDS

  patients and the complications arising from those conditions. Dr. Wohlfeiler currently

  treats approximately 1200 HIV/AIDS patients, many as a primary care physician. He has

  conducted research and published articles on HIV and AIDS, is a member of several HIV

  treatment organizations, and has given lectures on various pharmaceuticals used in the

  treatment of HIV/AIDS patients. Based upon Dr. Wohlfeiler’s experience, training and

  education, the undersigned finds that he is qualified to testify as an expert on the medical

  necessity of certain drugs and therapies and general treatment of HIV/AIDS patients.

         2)     Methodology Relied on by Expert

         The Defendants do, however, challenge the admissibility of Dr. Wohlfeiler’s

  testimony and opinions on several grounds, unrelated to his credentials. First,

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  Defendants challenge the reliability of the methodology used by Dr. Wohlfeiler in arriving

  at his conclusions regarding the medical necessity of the use of certain pharmaceuticals

  and treatment procedures for HIV/AIDS patients. Specifically, Defendants argued at the

  Daubert hearing that Dr. Wohlfeiler’s testimony was based only on his own personal

  experience in treating his patients and was not reliable as he did not list any specific

  studies or scientific experiences to support his opinion.

         Generally, to assess the reliability of an expert opinion, the Court considers a

  number of factors, including: (1) whether the expert's theory can be (and has been)

  tested; (2) whether the theory has been subjected to peer review and publication; (3) the

  known or potential rate of error of the particular scientific technique, and (4) whether the

  technique is generally accepted in the field. United States v. Frazier, 387 F.3d at 1262;

  see also United States v. Brown, 415 F.3d 1257, 1266-67 (11th Cir.2005) (citing Daubert,

  509 U.S. at 593-94). However, these factors are only illustrative and may not all apply in

  every case. Frazier, 387 F.3d at 1262.

         Further, in Frazier, the Eleventh Circuit, in evaluating the reliability of expert

  opinions, discussed scientific expert opinions as well as non-scientific experience-based

  testimony and stated that how to go about determining whether particular expert

  testimony is reliable may vary from case to case. Frazier at 1261-62. In addition,

  regardless of the specific factors considered in evaluating the reliability of expert

  testimony, “[p]roposed testimony must be supported by appropriate validation-i.e., ‘good

  grounds,’ based on what is known.” Id. (quoting Daubert, 509 U.S. at 590). The expert's

  testimony must be grounded in an accepted body of learning or experience in the expert's

  field, and the expert must explain how the conclusion is so grounded. Id. (quotations and

  citations omitted). If the witness is relying solely or primarily on experience, then the

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  witness must explain how that experience leads to the conclusion reached, why that

  experience is a sufficient basis for the opinion, and how that experience is reliably

  applied to the facts. Id. (quotations and citations omitted).

         In applying these principles in Frazier, the Eleventh Circuit evaluated whether the

  district court abused its discretion by excluding some of an expert witness’ opinion

  testimony because the witness failed to establish its reliability. Id. at 1264. The reviewing

  court affirmed the district court’s decision to exclude the testimony, and stated,

         [T]he expert said his opinion was based on his experience, and on various
         texts in forensic investigation. However, even after repeated prompting,
         [the witness] never explained just how his own experience, or the texts he
         mentioned, supported his...opinion. Indeed [the witness identified only a
         single investigation he had worked on...”

  Id. at 1265. The Court continued,

         Since [the witness] was relying solely or primarily on his experience, it
         remained the burden of the proponent of this testimony to explain how that
         experience led to the conclusion he reached, why that experience was a
         sufficient basis for the opinion, and just how that experience was reliably
         applied to the facts of the case.

  Id. In addition, the court found the witness’ testimony to be imprecise and unspecific. Id.

  at 1266.

                i) Source of Dr. Wohlfeiler’s Opinion

         In this case, Defendants have questioned whether Dr. Wohlfeiler relied on proper

  authorities and scientific data in opining that certain drugs or treatments were not

  medically necessary for the treatment of HIV/AIDS patients. At the hearing, Dr. Wohlfeiler

  identified text books that he relied on in reaching his opinion, including AIDS Therapy

  and a guide to treatment from the American Academy of HIV Medicine. He also testified

  that he relied on his practice’s patient database of 2500 patients to determine the number

  of times that he prescribed the medications at issue in his treatment of HIV/AIDS patients.

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   Moreover, unlike the witness in Frazier, during his testimony at the Daubert hearing, Dr.

  Wohlfeiler made clear that he reached his opinions based upon his numerous years as a

  physician treating HIV/AIDS patients and his acquired knowledge through that experience

  including his review of medical text books, treatises, and on-line research materials as to

  what treatments and medications are generally appropriate and medically necessary in

  the treatment of HIV/AIDS patients. Further, Dr. Wohlfeiler’s testimony was specific and

  precise as to the use of the drugs identified by the Government in the treatment of

  HIV/AIDS. In his testimony, Dr. Wohlfeiler identified and discussed each individual drug

  and provided specific medical situations where those drugs would be appropriately used

  in the treatment of HIV/AIDS patients. Dr. Wohlfeiler also was unequivocal in his opinion

  that it would be rare to use certain of the drugs and therapies in the treatment of

  HIV/AIDS patients. His testimony was neither imprecise nor unspecific. Thus, as

  required by Rule 702, and Kumho tire, the undersigned finds that Dr. Wohlfeiler’s

  opinions regarding the medical necessity of particular treatments or drugs for HIV/AIDS

  patients are grounded in reliable principles including his extensive experience in

  treatment of that patient group.

                ii) Dr. Wohlfeiler’s Failure to Review Patient Files

         The Defendants also argue that Dr. Wohlfeiler did not review the patient files in

  this case. To the extent that this argument calls into question the reliability of the

  witnesses’s opinions and whether the witness has applied the principles and methods

  reliably to the facts of the case, the undersigned finds the Defendants’ argument without

  merit. Defendants misperceive the nature and basis for Dr. Wohlfeiler’s testimony and

  opinions as it applies to this case. Dr. Wohlfeiler did not opine as to whether a particular

  treatment was medically necessary in the specific cases of the Medicare beneficiaries in

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  this matter, rather his opinions address the medical necessity of these specific

  treatments in HIV/AIDS patients, generally. His opinions are based the data and/or facts

  derived from his treatment of 1250 HIV/AIDS patients, and his review of relevant medical

  literature, as he testified to in the hearing. While the patient group that Dr. Wohlfeiler

  bases his opinions on may or may not identically mirror the profile of the Medicare

  Beneficiaries in this case, that does not render his opinions unreliable or inadmissible

  under Daubert. Rather, differences between the Medicare Beneficiaries and the patients

  seen in Dr. Wohlfeiler’s practice and experience may be the subject of cross-examination.

   Indeed, as stated by the Supreme Court in Daubert, “[v]igorous cross-examination,

  presentation of contrary evidence, and careful instruction on the burden of proof are the

  traditional and appropriate means of attacking shaky but admissible evidence.” Daubert,

  509 U.S. at 596. Thus, in the context of this case, Dr. Wohlfeiler’s opinion on the medical

  necessity of the specific therapies and/or treatments for HIV/AIDS patients may be

  appropriately applied to the facts of this case, as it relates to the use of those specific

  therapies or treatments.

         Moreover, it is important to note that the primary value of Dr. Wohlfeiler’s

  testimony is to educate the jury about HIV/AIDS treatment generally, the uses for the

  various medications that are the subject of the allegedly fraudulent billing; and, to put

  into context and corroborate the testimony of the owners of M&P and the patient

  witnesses that the clinic was a sham from the outset, that the only reason the patients

  went there was because they were paid kickbacks, and that the patients did not need, or

  to some extent even receive, the treatments that were prescribed. Thus, his testimony

  explains and corroborates the testimony of the percipient witnesses.

         In support of its position that Dr. Wohlfeiler’s methodology and foundation are

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  unreliable, Defendant Pacheco referred to Washington v. Vogel, 880 F. Supp. 1545 (M.D.

  Fla 1995), at the Daubert hearing, and cited to that case in its Supplemental Motion in

  Limine for support of its position. However, Washington is distinguishable from the

  case at bar. In Washington, the expert presented by the Government sought to introduce

  statistical proof that a significant disparity existed between the percentage of African

  American motorists and non-African American motorists who were routinely stopped on

  an interstate in a particular county. The district court found that the proposed testimony

  was not reliable and did not allow it to be introduced at trial. In so doing, the court first

  found that portions of the expert testimony would not have assisted the trier of fact in

  understanding the evidence in the case, as the videotapes of the traffic stops that the

  expert relied upon in reaching his conclusions were introduced at trial and the parties

  stipulated to the percentage of African Americans motorists depicted in the tape. Further

  the court found that the expert’s statistical analysis was not supported by “good

  grounds” as the expert relied on a traffic study from New Jersey to generalize rates of

  traffic violations in Florida and was prepared to testify about another study that was

  clearly factually distinct from the traffic stop at issue in that case. Id. at 1547.

         In contrast, in this case, Dr. Wohlfeiler is not providing a statistical analysis, but

  rather is providing his opinion on the appropriate and medically necessary treatment of

  HIV/AIDS patients during the relevant time period based upon his continuous and

  extensive treatment of HIV/AIDS patients in the Miami area. Although the Defendants

  argued at the hearing that Dr. Wohlfeiler’s patient base is different than the patients in

  this case, it did not offer any evidence that would support the conclusion that the

  population that Dr. Wohlfeiler treats is different in any medical manner that would render

  his opinion about a proper course of treatment for HIV/AIDS patients either irrelevant or

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  unreliable. Moreover, as stated above, such distinctions are appropriately dealt with on

  cross-examination rather than excluding the testimony in light of the circumstance

  presented here.

         Further, the cases cited in Defendant Pacheco’s Supplemental Motion in Limine

  primarily deal with scenarios when the expert is seeking to provide an opinion regarding

  causation as applied to a medical condition. In O’Conner v. Commonwealth Edison

  Company, 13 F.3d 1090 (7th Cir. 1994), for example, the purported expert cited to

  authorities that did not support his opinion regarding the method of diagnosis and the

  witness failed to offer any personal study or experiments that would justify his

  conclusion about the cause of the plaintiff’s condition, cataracts. Id. at 1106-07.    The

  court found that the expert’s limited experience in treating only five patients with

  radiation-induced cataracts in twenty years experience would not provide a sufficient

  basis for him to provide a scientifically sound opinion. Id. Similarly, in General Electric

  Company v. Joiner, 522 U.S. 136 (1997), the case involved an expert’s opinion regarding

  the causation of lung cancer in a person, based, in part, upon the expert’s extrapolation

  of studies conducted on the causation of cancer in mice. The Supreme Court applied the

  abuse of discretion standard in reviewing the district court’s decision to exclude the

  testimony and stated that the court could conclude that there was too great an “analytical

  gap” between the data and the opinion. Id. at 146. Finally, in In re Paoli R.R. Yard PCB

  Litigation, 35 F.3d 717 (3rd Cir. 1994), again the reviewing court examined the a district

  court’s decision regarding the admissibility of an expert’s testimony on the causation of

  certain illnesses in the plaintiffs. The court in that case focused largely on the fact that

  the expert did not have sufficient information to render an opinion on the causation of the

  plaintiffs’ illnesses, as the expert did not examine the patients or their medical charts

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  prior to providing an opinion on causation. Id. at 732.

         In this case, Dr. Wohlfeiler is not providing an opinion on causation and, in fact, is

  not providing an opinion regarding the specific patients in this matter, at all. Rather, as

  discussed above, Dr. Wohlfeiler is providing an opinion about the treatment of HIV/AIDS

  patients generally, the nature of the medical diagnoses used to justify the therapeutic

  treatments, and the appropriate use of the medications which were the subject of the

  allegedly fraudulent claims. His opinions are supported by his years of experience as a

  medical doctor in that field. In addition, to the extent Dr. Wohlfeiler concludes, based

  upon his experience of treating HIV/AIDS patients and reviewing medical literature, that

  many of the drugs at issue would only be used to treat HIV/AIDS patients in rare

  circumstances, that conclusion is not too great an “analytical gap” to render it unreliable

  in this case. There is nothing speculative nor inherently unreliable about a physician who

  has specialized in a particular area for many years, opining that certain medicines are

  rarely used in the treatment of that specialized area. The cases presented by the

  Defendants are clearly distinct and are inapposite to this factual scenario.

                iii) Local Medical Review Policies (LMRPs)

         Finally, Defendants argue that the Local Medical Review Policies (LMRPs) clearly

  define what is medically necessary regarding certain HIV treatments, and thus Dr.

  Wohlfeiler’s opinions are irrelevant.7 Defendants’ argument relies on the proposition that




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            The undersigned notes that the Defendants have raised this issue of relevance
   in the 702 context and while the argument might also be raised pursuant to Rule 403, the
   argument also potentially bears upon the reliability of Dr. Wohlfeiler’s opinions to the
   extent that those opinions do not comport with Defendants’ premise that the LMRPs
   state that the drugs at issue are medically necessary for the treatment of HIV. Therefore,
   the undersigned will address the Defendants’ arguments on this point as part of its Rule
   702/703 analysis.

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  the LMRPs are determinative of what is medically necessary. However, this proposition

  is incorrect. In Arrueujo v. Thompson, 2001 WL 1563699 *1 (E.D.N.Y. July 3, 2001) for

  example, the court acknowledged that even under the pertinent LMRP in that case, a

  determination of medical necessity for the submission of a claim typically requires the

  person seeking reimbursement to present supporting medical records. Id at *22.

         Further, although Defendant Pacheco has submitted two LMRPs to support its

  position, it is clear that the very language contained in those documents indicate that a

  particular course of treatment may or may not be medically necessary [D.E. 249-2].8 In

  particular, Defendant Pacheco has submitted a portion of the Florida Medicare Part A

  Local Coverage Determination addressing the coverage for Epoetin Alfa, and points the

  undersigned to the section entitled “ICD-9 Codes that Support Medical Necessity” which

  lists the non-renal diagnostic codes for epoetin alfa including “042 Human

  immunodeficiency virus [HIV] disease]”.    While Defendant Pacheco may be correct that

  Medicare will only reimburse for services performed under these guidelines, it does not

  follow that a code listing for HIV means that epoetin alfa is always medically necessary

  for the treatment of HIV. Rather, the LMRP’s do not set out courses of treatment but set

  guidelines on what will be reimbursed under Medicare, if appropriate. In fact, the

  document submitted by the Defendant contain sections entitled “Documentation

  Requirements” and “Utilization Guidelines” which state,

         The physician must clearly document in the patient’s medical record that all
         requirements have been met and support the medical necessity for the use
         of Epoetin alfa, including but not limited to covered diagnoses, appropriate


         8
           Defendant Pacheco also submitted a LMRP for RHO (D) Immune Globulin (D.E. #
   249-3). However, at the beginning of the Daubert hearing, the Government clarified that
   RHO (D) was not a drug allegedly billed by M&P to Medicare and thus was not included
   in Dr. Wohlfeiler’s opinion or testimony.

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         laboratory studies (including date & results of most recent HCT/HGB levels
         within last month), dosage, route of administration, frequency and duration
         of the treatment and the patient’s response to therapy. This information is
         normally found in the office/progress and laboratory results.
  and

         It is expected that these services would be performed as indicated by
         current medical literature and/or standards of practice. When services are
         performed in excess of established parameters, they may be subject to
         review for medical necessity.

         Under the Defendants’ interpretation of these documents, the above quoted

  language would be meaningless as every time a physician billed for epoetin alfa for a

  patient who was diagnosed with HIV, Medicare would reimburse for that treatment even if

  the patient’s records indicated that it was not medically necessary, or if the services were

  performed beyond the standards of practice as indicated by current medical literature.

         Similarly, the Defendants have submitted a Medicare Coverage Database

  document for the drugs filgrastim and neupogen (D.E. # 249-3). That document also

  contains a section entitled “Documentation Requirements” which refers to several pieces

  of information other than an underlying diagnosis that a physician must provide in order

  to obtain coverage. Again, if the patient only needed to be diagnosed with a disease

  referenced in that section to determine medical necessity, the other Documentation

  Requirements, including the submission of records regarding the “administration and

  dosage” to the patient as well as the “patient’s response to the treatment” would

  presumably not be necessary. Simply put, the LMRPs are not dispositive of the issue of

  whether the medications and treatments allegedly administered were medically

  necessary. Therefore, Dr. Wohlfeiler’s opinions regarding whether a treatment is

  medically necessary are not preempted by the LMRPs and thus are not unreliable in this

  regard. To the extent that there is any conflict between Dr. Wohlfeiler’s opinions and the



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  LMRPs, it may be addressed on cross-examination.

         The cases cited by the Defendants are not at odds with this interpretation. Those

  cases do not stand for the proposition that every treatment given that might be covered

  under an LMRP will be covered as medically necessary. In U.S. v. Augustine Medical

  Inc., 2004 WL 256772 (D. Minn. Feb. 10, 2004), for example, the court did not state that any

  Medicare billing submitted pursuant to the LMRPs was per se medically necessary, and in

  fact, discussed cases under Medicare where the appropriate codes were actually used

  but the services billed for were inappropriate. The case does not speak to the

  determination of medical necessity under the LMRPs nor fraud related to that

  determination, thus it is not instructive on this issue. In Metromed Laboratories, Inv. v.

  Health Care Service Corp., 1999 WL 58558 (N.D. Ill Feb. 3, 1999), the court did not

  determine or even state what the LMRPs’ definition of “medical necessity” was, or

  whether any medicines listed in the LMRPs as covered by Medicare were automatically

  deemed to be medically necessary. Thus, consistent with the above analysis, the LMRPs

  merely set forth reimbursement and/or coverage that may be available under Medicare if

  it is determined that a medicine is medically necessary.

         Along the same lines, Defendants argue that Dr. Wohlfeiler’s opinions on medical

  necessity are not reliable as he testified that he is not familiar with the definition of

  “medical necessity” under Medicare. However, the Defendants have failed to submit any

  evidence that suggests that there is a separate standard for medical necessity in the

  Medicare realm as opposed to in the medical community at large. In addition, the

  documents submitted by the Defendants regarding coverage for epoetin alfa suggest that

  Medicare relies on the “standards of practice” in whether services should be performed.

  Thus, absent evidence in the record to the contrary, there is no basis to find Dr.

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  Wohlfeiler’s opinions unreliable in this area.

         Moreover, Dr. Wohlfeiler has not been offered as an expert on Medicare

  procedures or policies. His expertise relates to the use of certain treatments and drugs

  for HIV/AID patients as practiced in the medical community. While Defendants correctly

  point out that this is not a medical malpractice case, and thus whether Defendants

  provided the most efficacious treatment to patients is not at issue, the fact that Dr.

  Wohlfeiler may not be an expert on Medicare procedures does not mean that his opinion

  about the medical necessity of the use of certain pharmaceuticals is not reliable as

  applied to this case.

                3)        Testimony as Assisting Trier of Fact

         Finally, as to the third Rule 702 prong, the undersigned finds that Dr. Wohlfeiler’s

  testimony would assist the trier of fact in this case. Expert testimony should be “the kind

  that enlightens and informs lay persons without expertise in a specialized field.” Cyr v.

  Flying J Inc., 2008 WL 2608127 (M.D. Fla. June 29, 2008) (quoting United States v.

  Burchfield, 719 F.2d 356, 357 (11th Cir.1983)). Further, as stated in Abramson v. Walt

  Disney World, 370 F. Supp. 2d 1221 (M.D. Fla. 2005), the Eleventh Circuit “follows the

  generally accepted rule that expert testimony is properly excluded when it is not needed

  to clarify facts and issues of common understanding which jurors are able to

  comprehend for themselves.” (internal citations omitted).

         Here, the Government alleges that certain infusion and injection treatments were

  not necessary for the treatment of HIV/AIDS patients, and that the Defendants knowing

  that the treatments were not necessary, nevertheless billed Medicare for the treatments.

  The Government has focused the proposed expert testimony on the top ten drugs for

  each clinic that were the subject of the allegedly fraudulent claims. By all accounts, at

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  least some of those drugs may be appropriate or necessary for the treatment of HIV/AIDS

  patients in certain situations. However, the Government contends that the drugs are only

  necessary in rare HIV/AIDS cases, and in some cases are contraindicated for HIV patients.

  Whether and why those drugs might be necessary or used in the treatment of HIV/AIDS

  requires an understanding of the state of HIV treatment, including the medically

  recommended uses of those drugs in that treatment. Thus, the determination of the

  medical necessity in this context is particularly complicated. Accordingly, the

  undersigned finds that Dr. Wohlfeiler would assist the trier of fact to understand the

  evidence or to determine a fact in issue. Accord United States v. Same, 276 F. 3d. 131,

  140, n.2 (3rd Cir. 2002) (holding that as government had burden of demonstrating that

  certain ambulance trips are not medically necessary, whether an ambulance trip is

  actually medically necessary is an issue on which the average juror could benefit from a

  physician’s expert testimony).

         In addition, courts have stated that “expert testimony is admissible if it will simply

  assist the trier of fact to understand the facts already in the record, even if all it does is

  put those facts in context.” Thomas v. Hubtex Maschinenbau GmbH & Co. KG,

  Slip Copy, 2008 WL 4371977 *3 (M.D. Ga., Sept. 23, 2008) (citing 4 Joseph M. McLaughlin

  et al., Weinstein's Federal Evidence § 702.03[1] (2d ed. 2007). In this case, the

  Government has indicated that Dr. Wohlfeiler’s testimony will be presented in

  conjunction with other witnesses who will testify as to the alleged fraudulent nature of

  the clinics, including whether the patients actually received the billed treatments. Dr.

  Wohlfeiler’s testimony will therefore assist in providing an understanding of the medical

  aspects of the alleged fraud.

         At the same time however, the Defendants’ argument that Dr. Wohlfeiler’s

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  testimony will improperly invade the province of the fact finder is without merit. Dr.

  Wohlfeiler has offered no opinions regarding whether the Defendants believed that the

  treatments at issue were medically necessary or not. His testimony is limited to what

  treatments generally are medically necessary in the treatment of HIV/AIDS patients. While

  this testimony will undoubtedly be helpful in providing the fact finder with a context and

  understanding of what is medically necessary it in no way is determinative of whether the

  Defendants’ conduct was fraudulent. Also, to the extent that Dr. Wohlfeiler’s opinions

  bear on the ultimate determination of whether the treatments were medical necessary,

  those opinions are admissible pursuant to Rule 704.

         Thus, Dr. Wohlfeiler satisfies the Daubert standards as an expert on the issue of

  the treatment and medical necessity of certain drugs for HIV/AIDS.

         B.     The Probative Value of the Testimony: Federal Rules of
                Evidence 401, 402, and 403

         Although the undersigned has concluded that Dr. Wohlfeiler’s testimony meets the

  requirements under Rule 702, as stated by the Eleventh Circuit in Frazier, “[b]ecause of

  the powerful and potentially misleading effect of expert evidence,...sometimes expert

  opinions that otherwise meet the admissibility requirements may still be excluded by

  applying Rule 403.” Frazier, 387 F. 3d at 1263. Federal Rule of Evidence 403 provides,

  “evidence may be excluded if its probative value is substantially outweighed by the

  danger of unfair prejudice, confusion of the issues, or misleading the jury, or by

  considerations of undue delay, waste of time, or needless presentation of cumulative

  evidence." Generally, Rule 403 is considered an extraordinary remedy that should be

  used sparingly because it allows the court to exclude admittedly probative evidence. U.S.

  v. Ross, 33 F.3d 1507, 1524 (11th Cir.2004). Thus, courts have stated that the discretion



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  to exclude evidence as unduly prejudicial is "narrowly circumscribe[d]." United States v.

  Cross, 928 F.2d 1030, 1048 (11th Cir.1991) (citation omitted). Accord United States v.

  Dean, 221 Fed. Appx. 849 (11th Cir. 2007)

         In United States v. Achille, 277 Fed. Appx. 875 (11th Cir. 2008) (unreported), for

  example, the Eleventh Circuit Court of Appeals found that the district court did not err in

  admitting the expert testimony of a physician in a health care fraud case who testified,

  among other things, that the treatment prescribed by a defendant for a specific patient

  was not within the accepted standard of care for treatment of AIDS patients. Id. at 878.

  Although the court reviewed the district court’s determination under the plain error

  standard because the defendant failed to preserve the issue for appeal, the court

  nevertheless opined that the expert physician’s testimony was relevant and probative and

  not unfairly prejudicial under Rule 403.

         In addition, in United States v. Rosin, 263 Fed. Appx. 16, 29-30 (11th Cir. 2008)

  (unpublished), the Eleventh Circuit Court of Appeals held, in a health care fraud case

  similar to the case at bar, that it was not improper for the district court to admit the

  testimony of the government’s expert witnesses regarding their own surgical practices.

  This testimony was found probative because it might lead the jury to conclude that the

  defendant’s practice was fraudulent because the government expert witnesses diagnosed

  cancer at much lower rates and performed fewer surgeries than the defendant. .

         In Rossin, the defendant challenged the testimony under Federal Rules of

  Evidence 401, 402 and 403, as not being probative and being unduly prejudicial to the

  defendant. In rejecting the defendant’s argument on those grounds, the court stated,

         The differences between the rates at which the Government’s witnesses
         and [the defendant] diagnosed cancer and performed multi stage....surgery
         did not provide conclusive proof that some of the [the defendant’s]

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         surgeries were medically unnecessary and fraudulent. Nevertheless, if the
         testimony of the expert witnesses was believed, the stark differences
         between their surgical procedures and outcomes and [defendant’s] were
         probative on the question whether [defendant] had defrauded the Medicare
         program by filing false claims.

  Further, as to the prejudicial nature of the testimony, the court stated,

         [Defendant] is right when he asserts the expert witnesses’ testimony was
         prejudicial, as all evidence of guilt is intended to be. It was not however,
         unfairly prejudicial in violation of the rules of evidence or [defendant’s]
         rights under federal law. The trial court did not err by failing to prevent the
         experts from testifying about their medical practices.

  Id. at 29-30.

         Further, the undersigned notes that in this District, in circumstances similar to the

  case at bar, two courts have admitted expert testimony. In United States v. Beatriz

  Delgado, 08-20270-CR-MORENO, the Court admitted the testimony of Dr. Wohlfeiler, the

  same expert physician in this case, regarding the medical treatment of HIV/AIDS patients.

  (D. E. # 281; October 14, 2008 transcript at 9-10). In Delgado, Dr. Wohlfeiler did not testify

  regarding specific patient files that he reviewed, but rather offered his opinion generally

  on the medical necessity of medical treatments for HIV/AIDS patients, including the lack

  of medical necessity for the use of a specific drug at issue in that case. Similarly, in

  United States v. Hernandez, 07-20291-CR-CMA (DE ## 144, 146, 168), another District

  Judge of this Court reached the same result in an analogous context regarding the

  medical necessity of certain pulmonary treatments.

         Thus, the undesigned concludes that the proposed expert testimony is probative,

  and that the probative value is not substantially outweighed by the danger of unfair

  prejudice, confusion of the issues, or misleading the jury. In addition, it does not appear

  that it will cause undue delay, waste of time, or that it is cumulative.




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            C.      Due Process

            Finally, the Defendants argue that their due process rights will be violated if Dr.

  Wohlfeiler is allowed to testify at trial. The Defendants cite to cases that generally hold

  when a defendant reasonably relies upon a regulatory agency’s affirmative

  representations that its behavior, which comports with those representations, was legal;

  it is a violation of due process for a defendant to then be prosecuted for that behavior.9

  However, as correctly noted by the Government, and as discussed above, the LMRPs did

  not determine that all billing to Medicare by medical providers for services that may have

  been listed in those guidelines was medically necessary. Thus, it is hard to fathom that

  the Defendants, or any medical providers, believed that billing for medically unnecessary

  services would be legal, simply because those services were listed on the LMRPs. In

  addition, the Defendants may introduce evidence to rebut Dr. Wohlfeiler’s testimony and

  establish that they had a good faith belief that the medicine and treatments for which they

  billed Medicare were medically necessary to treat HIV patients. Moreover, the

  Defendants’ argument on this point again mischaracterizes Dr. Wohlfeiler’s opinions as

  he does not provide an opinion as to whether these specific treatments or medicines

  were medically necessary in this particular case, but rather explains the use of these

  drugs in the treatment of HIV/AIDS patients generally. Accordingly, there is nothing in

  Dr. Wohlfeiler’s opinion or likely testimony that violates the Defendants’ due process

  rights.




            9
            To the extent that the Defendants intend to claim that the charges should be
   dismissed on this ground, the undersigned notes that this challenge is not properly
   before the Court in connection with the motions in limine to exclude expert testimony,
   but must be raised in a separate motion to dismiss or motion for judgment of acquittal at
   trial.

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        Therefore, based upon a review of the record as a whole, it is hereby

        ORDERED AND ADJUDGED that Defendant Keith Russell’s Motion to Exclude

  Opinion Evidence (D.E. # 196) and Defendant Jorge Luis Pacheco’s Motion to Exclude the

  Government’s Physician Witness, Dr. Michael Wohlfeiler, M.D. (D.E. # 198) and joined by

  Co-defendant Eda Milanes (D.E. ## 237, 238), and the Supplemental Motion in Limine to

  Exclude the Government’s Physician Witness Under Daubert (DE # 261) are DENIED.

        DONE AND ORDERED in chambers in Miami, Florida, on February 14, 2009.




                                                  ANDREA M. SIMONTON
                                                  UNITED STATES MAGISTRATE JUDGE


  Copies furnished to:
  The Honorable Ursula Ungaro, United States District Judge
  All counsel of record via CM/ECF




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